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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA et al.,          )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO et al.,                 )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                             ORDER

       Pursuant to the court’s Memorandum Opinion issued on this date, ECF No. 1032, the court

hereby orders the following with respect to further proceedings in this matter.

       The parties shall meet and confer and submit a Joint Status Report no later than September

4, 2024, which proposes a schedule for proceedings regarding remedies. The parties shall appear

for a Status Conference on September 6, 2024, at 2:00 p.m. in Courtroom 10.

       If a scheduling conflict arises, the parties may contact chambers at 202-354-3250.




Dated: August 5, 2024                                       Amit P. Mehta
                                                     United States District Court Judge
